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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ZALMY BISTON,
Plaintiff, ORDER

-against- 20-CV-07384 (PMH)

EQUIFAX INFORMATION SERVICES, LLC,

Defendant.

 

 

PHILIP M. HALPERN, United States District Judge:

The Court has been informed that the parties have reached a settlement in principle in this
case. (Doc. 9), Accordingly, it is hereby ORDERED that this action is dismissed without costs
and without prejudice to restoring the action to the Court’s calendar, provided the application to
restore the action is made within thirty (30) days of this Order. Any application to reopen filed
after thirty (30) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences are CANCELED.

Dated: New York, New York
November 5, 2020

PHILIP M. HALPERN
United States District Judge

 
